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SOUTHERN DISTRICT GF MISSISSIPPI
FILED
APR 18 2973
IN THE UNITED STATES DISTRICT COURT ARTHUR JOHNSTON
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI OY a DEPUTY
NORTHERN DIVISION
UNITED STATES OF AMERICA
v. CRIMINAL NO. 3:23-cR-QOCWK-F KB
THEODORE M. DIBIASE, JR. 18 U.S.C. § 371
a/k/a “TED DIBIASE, JR.” a/k/a 18 U.S.C. § 666(a)(1}(A)
“TEDDY DIBIASE” 18 U.S.C. § 1343
18 U.S.C. § 1957
The Grand Jury charges:
GENERAL ALLEGATIONS

At all times material to this Indictment, unless otherwise specified:
Relevant Background

1. The Mississippi Department of Human Services (“MDHS”) was a Mississippi state
agency responsible for, among other things, overseeing the distribution of federal funds from the
Temporary Assistance to Needy Families program (“TANF”), The Emergency Food Assistance
Program (“TEFAP”), and other federal programs. MDHS received in excess of $10,000 a year in
federal benefits during each relevant calendar year.

2. TANF was a federal safety-net program of the United States Department of Health
and Human Services that provided federal funds to states and territories to assist low-income
families with children.

3. TEFAP was a federal safety-net program of the United States Department of
Agriculture that helped supplement the diets of low-income individuals by providing them with
emergency food assistance at no cost.

4. Recipients of TANF and TEFAP funds were required to follow certain regulations
and reporting requirements to ensure the funds were used in alignment with the goals of the TANF

and TEFAP programs.

 
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Relevant Entities

5. The Family Resource Center of North Mississippi Inc. (“FRC”) was a non-profit
organization registered in Mississippi on or about May 22, 1998. MDHS provided federal funds,
to FRC in excess of $10,000 during each calendar year from at least 2016 to at least 2019, including
TANF and TEFAP funds.

6. Mississippi Community Education Center (“MCEC”) was a non-profit organization
registered in Mississippi on or about June 22, 1992. MDHS provided federal funds, to MCEC in
excess of $10,000 during each calendar year from at least 2016 to at least 2019, including TANF
funds.

7. Priceless Ventures LLC (“Priceless”) was a Limited Liability Company formed and
registered in Mississippi on or about May 11, 2017. Priceless received federal funds, in excess of
$10,000 from MDHS through FRC and MCEC during each calendar year 2018 and 2019,
including TANF and TEFAP funds.

8. Familiae Orientem LLC (“Familiae”) was a Limited Liability Company formed and
registered in Wyoming on or about June 25, 2018. On or about July 17, 2018, Familiae was
registered as a foreign Limited Liability Company in Mississippi. Familiae received federal funds,
in excess of $10,000 from MDHS through FRC during calendar year 2018, including TANF funds.

9. K&T Management Inc. (“K&T”) was a Mississippi corporation formed on or about
December 18, 2017.

The Defendant and Relevant Individuals

10. The Defendant, THEODORE M. DIBIASE, JR., also known as “TED DIBIASE,
JR.” and “TEDDY DIBIASE” (“DIBIASE”), a resident of Madison County, Mississippi, was
the manager and owner of Priceless, the owner of 99 percent of Familiae, and the owner of K&T.

DIBIASE was an agent of both Priceless and Familiae.

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11. John Davis (“Davis”) was the executive director of MDHS from on or about
February 1, 2016, until on or about July 31, 2019. As the executive director, Davis was an agent
of MDHS.

12. Christi Webb (“Webb”) was the executive director of FRC. As the executive
director, Webb was an agent of FRC.

13. | Nancy New (“New”) was the executive director of MCEC. As the executive

director, New was an agent of MCEC.

COUNT 1
(Conspiracy — 18 U.S.C. § 371)

14. Paragraphs 1 through 13 of this Indictment are re-alleged and incorporated by
reference as though fully set forth herein.

15. Beginning in or around 2016 and continuing through at least in or around 2019, the
exact dates being unknown to the Grand Jury, in the Northern Division of the Souther District of
Mississippi and elsewhere, the defendant, THEODORE M. DIBIASE, JR., knowingly and
willfully, that is, with the intent to further the objects of the conspiracy, conspired and agreed with
Davis, New, Webb, and other individuals known and unknown to the Grand Jury to commit certain
offenses against the United States, namely:

a. Wire fraud, that is, to knowingly and with the intent to defraud devise a scheme and
artifice to defraud, and to obtain money and property by means of materially false
and fraudulent pretenses, representations, and promises, and to transmit and cause
to be transmitted, by means of wire communication in interstate and foreign
commerce, writings, signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice to defraud, in violation of Title 18, United States
Code, Section 1343; and

b. Theft concerning programs receiving federal funds, that is, being an agent of an
organization and a state government, and any agency thereof, which received
federal benefits in excess of $10,000 during each relevant calendar year, to
embezzle, steal, obtain by fraud, and otherwise without authority knowingly
convert to the use of any person other than the rightful owner and intentionally
misapply, property that was valued at $5,000 or more, and was owned by, and was

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under the care, custody, and control of such organization, government, and agency,
in violation of Title 18, United States Code, Section 666(a)(1 )(A).

The Purpose of the Conspiracy

16. | The purpose of the conspiracy was for DIBIASE, Davis, Webb, New, and others
known and unknown to the Grand Jury to obtain through fraud and to divert for their personal use
and benefit federal safety-net funds intended for needy families and low-income individuals.

Manner and Means of the Conspiracy

17. The manner and means by which DIBIASE, Davis, Webb, New, and others known
and unknown to the Grand Jury sought to accomplish and did accomplish the purpose of the
conspiracy included, but were not limited to, the following:

18. In furtherance of the conspiracy, after federal funds, including TANF and TEFAP
funds, were issued to MDHS for distribution to needy families and low-income individuals, Davis,
and at times others, directed MDHS to subgrant these federal funds to FRC and MCEC under the
false pretenses that Webb for FRC and New for MCEC would use the federal funds solely to fulfill
the goals and mandates of the federal programs from which the funds originated and consistent
with the programs’ rules and regulations.

19. In furtherance of the conspiracy, Davis, and at times others, directed Webb for FRC
and New for MCEC to award sham contracts to various individuals and entities purportedly for
the delivery of social services. The sham contracts falsely and fraudulently represented that the
recipients of the federal funds would implement specific social services and would provide
documentation to FRC and MCEC that such social services had in fact been provided. Davis, and
at times others, personally selected the recipients of these sham contracts knowing that the

recipients were not qualified to provide sccial services and/or would not provide them.
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20. In furtherance of the conspiracy, between in or around June 2017 and in and around
October 2018, DIBIASE, through his companies, Priceless and Familiae, entered into at least five
sham contracts with FRC and MCEC, which were used as vehicles to defraud and steal federal
funds from MDHS through FRC and MCEC.

21. In furtherance of the conspiracy, Davis, and at times others, directed Webb for FRC
and New for MCEC to disburse full or almost full payments pursuant to the sham contracts at or
near the beginning of the applicable contract periods, including directing FRC and MCEC to
disburse full or almost full payments to DIBIASE and his companies, Priceless and Familiae,
regardless of whether any work had been performed and knowing that no work likely ever would
be performed.

22. In furtherance of the conspiracy, FRC and MCEC provided federal funds from
MDHS to DIBIASE and his companies, Priceless and Familiae, for social services that DIBIASE
did not provide and did not intend to provide. Some of these transactions involved the use of
interstate wire communications.

23. In furtherance of the conspiracy, DIBIASE appropriated and misused the federal
funds for his own personal benefit, including, among other expenditures, the purchase ofa vehicle,
the purchase of a boat, and the down payment for the purchase of a house.

24. As aresult of the actions of DIBIASE, Davis, Webb, New, and others known and
unknown to the Grand Jury, millions of dollars in federal safety-net funds were diverted from
needy families and low-income individuals in Mississippi.

Overt Acts

25. In furtherance of the conspiracy, and to effect the objects thereof, one or more of

the following overt acts, among others, was committed in the Northern Division of the Southern

District of Mississippi and elsewhere:
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26. On or about May 15, 2018, FRC entered into a sham contract with DIBIASE
through Priceless for approximately $500,000 purportedly for leadership outreach services for
FRC.

27. On or about May 15, 2018, FRC made two payments totaling approximately
$500,000 in federal funds to Priceless.

28.  Onor about May 17, 2018, MCEC made a payment of approximately $500,000 in
federal funds to Priceless.

29. On or about May 17, 2018, DIBLASE deposited approximately $1,020,833.33 in
federal funds received from FRC and MCEC into a checking account at BankPlus in the name of
Priceless.

30. On or about May 22, 2018, FRC entered into a sham contract with DIBIASE
through Priceless for approximately $497,987 purportedly to assess the need for emergency food
assistance.

31. On or about June 26, 2018, the day after the formation of Familiae in Wyoming,
FRC entered into a sham contract with DIBIASE through Familiae for approximately $1,000,000
purportedly to create the RISE Program to address the needs of inner-city youth.

32. On or about October 1, 2018, MCEC entered into a sham contract with DIBIASE
through Priceless for approximately $250,000 purportedly for the delivery of services for MCEC.

All in violation of Title 18, United States Code, Section 371.

COUNTS 2-7
(Wire Fraud — 18 U.S.C. § 1343)

33. Paragraphs | through 13 of this Indictment are re-alleged and incorporated by
reference as though fully set forth herein.

34, On or about the dates set forth as to each count below, in the Norther Division of
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the Southern District of Mississippi and elsewhere, the defendant, THEODORE M. DIBIASE,
JR., knowingly and with the intent to defraud, devised a scheme and artifice to defraud and to
obtain money and property by means of materially false and fraudulent pretenses, representations,
and promises, and transmitted and caused to be transmitted by means of wire communication in
interstate and foreign commerce, writings, signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice to defraud, as specified in the table below.
The Purpose of the Scheme and Artifice to Defraud

35. Paragraph 16 of this Indictment is re-alleged and incorporated by reference as

though fully set forth herein as the purpose of the scheme and artifice to defraud.
Manner and Means of the Scheme and Artifice to Defraud

36. Paragraphs 17 through 24 of this Indictment are re-alleged and incorporated by
reference as though fully set forth herein as the manner and means of the scheme and artifice to
defraud.

Executions of the Scheme and Artifice to Defraud

37. | Onor about the dates specified as to each count below, for the purpose of executing
the scheme and artifice to defraud, and attempting to do so, DIBLASE did knowingly transmit and
cause to be transmitted, by means of wire communications in interstate and foreign commerce, the

following writings, signals, pictures, and sounds:

 

 

Count} Approximate Description of Wire
Date
2 May 17, 2018 Interstate wire communication upon the deposit of FRC check

number 1923 from Community Bank of North Mississippi in the
amount of approximately $250,000 into a BankPlus account in the
name of Priceless (“Priceless Account 1”).

3 May 17, 2018 Interstate wire communication upon the deposit of FRC check
number 1924 from Community Bank of North Mississippi in the
amount of approximately $250,000 into Priceless Account 1.

 

 

 

 

 

 
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4 | July 12,2018 Interstate wire communication upon the deposit of FRC check
number 2377 from Community Bank of North Mississippi in the
amount of approximately $497,987 into Priceless Account 1.

5 August 9, 2018 Interstate wire communication upon the deposit of FRC check
number 2403 from Community Bank of North Mississippi in the
amount of approximately $350,000 into a BankPlus account of
Familiae (“Familiae Account 1”).

6 August 30,2018 | Interstate wire communication upon the deposit of FRC check
number 2949 from Community Bank of North Mississippi in the
amount of approximately $350,000 into Familiae Account 1.

7 | October 26, 2018 | Interstate wire communication upon the deposit of MCEC check
number 20903 from Regions Bank in the amount of approximately
$20,833.34 into a Renasant Bank account in the name of Priceless.

 

 

 

 

 

 

 

 

All in violation of Title 18, United States Code, Section 1343.

COUNT 8
(Theft Concerning Programs Receiving Federal Funds — 18 U.S.C. § 666(a)(1)(A))

38. Paragraphs 1 through 13 and 17 through 24 of this Indictment are re-alleged and
incorporated by reference as though fully set forth herein.

39. On or about June 6, 2018, in the Northern Division of the Southern District of
Mississippi and elsewhere, the defendant, THEODORE M. DIBIASE, JR., being an agent of
Priceless, an organization that received federal benefits in excess of $10,000 during calendar year
2018, did embezzile, steal, obtain by fraud, and otherwise without authority knowingly convert to
the use of any person other than the rightful owner, and intentionally misapply, property valued at
$5,000 or more that was owned by, under the care, custody, and control of Priceless, that is,
approximately $700,000 that Priceless received from MDHS through MCEC and FRC.

All in violation of Title 18, United States Code, Section 666(a)(1)(A).

COUNT 9
(Theft Concerning Programs Receiving Federal Funds — 18 U.S.C. § 666(a)(1)(A))

40. Paragraphs | through 13 and 17 through 24 of this Indictment are re-alleged and
incorporated by reference as though fully set forth herein.

41. | Onor about November 16, 2018, in the Northern Division of the Southern District
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of Mississippi and elsewhere, the defendant, THEODORE M. DIBIASE; JR., being an agent of
Familiae, an organization that received federal benefits in excess of $10,000 during calendar year
2018, did embezzle, steal, obtain by fraud, and otherwise without authority knowingly convert to
the use of any person other than the rightful owner, and intentionally misapply, property valued at
$5,000 or more that was owned by, under the care, custody, and control of Familiae, that is,
approximately $401,304.37 that Familiae received from MDHS through FRC.

All in violation of Title 18, United States Code, Section 666(a)(1)(A).

COUNTS 10-13
(Money Laundering — 18 U.S.C. § 1957)

42. Paragraphs | through 13 and paragraphs 17 through 24 of this Indictment are re-
alleged and incorporated by reference as though fully set forth herein.

43. On or around October 30, 2018, approximately $697,759.55, composed primarily
of funds received from FRC, was transferred by check number 1010 from Familiae Account I to
a Familiae Account at Renasant Bank (“Familiae Account 2”). On or around November 16, 2018,
approximately $401,304.37 was sent by interstate wire from Familiae Account 2 to an account in
DIBIASE’s name at Renasant Bank (“the DIBIASE Personal Account”).

44. On or about the dates specified as to each count below, in the Northern Division of
the Southern District of Mississippi and elsewhere, the defendant, THEODORE M. DIBIASE,
JR., did knowingly engage in and attempt to engage in monetary transactions affecting interstate
and foreign commerce, by, through, and to a financial institution, in criminally derived property
of a value greater than $10,000, such property having been derived from a specified unlawful
activity, namely wire fraud and theft concerning programs receiving federal funds, and knowing
that the property involved in the monetary transaction represented criminally derived proceeds, as

more particularly described in each count below:
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Count | Approximate Date Description of Transaction

 

10 November 16,2018 | Transfer in the amount of approximately $401,304.37 from
the DIBIASE Personal Account to a BankPlus trust account
for the purchase of real property.

HH November 30, 2018 | Transfer in the amount of approximately $100,000 from a
Priceless account at Renasant Bank to a K&T account at
Renasant Bank (the “K&T Account”).

12 December 31,2018 | Transfer in the amount of approximately $200,000 from a
Priceless account at Renasant Bank to the K&T Account.

13 December 31,2018 | Transfer in the amount of approximately $200,000 from a
Familiae account at Renasant Bank to the K&T Account.

 

 

 

 

 

 

 

 

All in violation of Title 18, United States Code, Section 1957.
NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
Pursuant to Fed. R. Crim. P. 32.2(a), THEODORE M. DIBIASE, JR. is hereby notified
that upon conviction of conspiracy in violation of 18 U.S.C. § 371, wire fraud in violation of 18
U.S.C. § 1343, or theft concerning programs receiving federal funds in violation of 18 U.S.C. §
666(a)(1)(A), he shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
U.S.C. § 2461(c), any property, real or personal, constituting, or derived from, any proceeds
DIBIASE obtained, directly or indirectly, as the result of such violation. Upon conviction of
money laundering in violation of 18 U.S.C. § 1957, he shall forfeit to the United States, pursuant
to 18 U.S.C. § 982(a)(1), any property, real or personal, involved in such offense, or any property
traceable to such property.
The property subject to forfeiture includes:
(1) United States currency in the form of a money judgment representing the proceeds
DIBIASE received in the course of the violations charged in this Indictment, and
(2) the real property located at 115 Rosedowne Bend, Madison, Mississippi, more particularly

described as:

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Lot R-8 ROSEDOWN — BLOCK “R” @ REUNION, a subdivision
according to the map or plat thereof which is on file and of record in the
office of the Chancery Clerk of Madison County at Canton, Mississippi, in
Plat Cabinet E, Slide 50B-51A, reference to which is hereby made in aid of
and part of this description.
If any of the directly traceable forfeitable property, as a result of any act or omission of the
defendant:
a. Cannot be located upon the exercise of due diligence;
b. Has been transferred to, or deposited with, a third party;
c. Has been placed beyond the jurisdiction of the Court;
d. Has been substantially diminished in value; or
e. Has been commingled with other property which cannot be divided without difficulty;
Then it is the intent of the United States, pursuant to 18 U.S.C. § 853(p), and as incorporated by
28 U.S.C. § 2461(c) and 18 U.S.C. § 982(b)(1), to seek forfeiture of any other property of
DIBIASE up to the amount of proceeds DIBIASE received in the course of the violations charged
in this Indictment.

Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c); 18 U.S.C. §§ 982(a)(1) and

982(b)(1); and 21 U.S.C. § 853(p).

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_ DARREN J. LAMARCA

United States Attorney
Southern District of Mississippi

Glann LLeorn

 

GLENN S. LEON
Chief, Fraud Section
Department of Justice

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S. WIBLE
hief, Money Laundering and Asset Recovery Section
Department of Justice

A TRUE BILL:
S/SIGNATURE REDACTED
Foreperson of the Grand Jury

This indictment w med in open court by the foreperson or deputy foreperson of the
grand jury on this, the LA a¥ of April, 2023. 4

  

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